                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )
 v.                                            )      Case No. 1:09-CR-95
                                               )
 STEPHANIE LEVIN                               )      COLLIER/LEE

                                             ORDER

        On August 20, 2009, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant Stephanie Levin’s (“Defendant”)

 plea of guilty to Count One of the Indictment, the lesser included offense of conspiracy to

 manufacture, distribute, and possess with the intent to distribute fifty (50) grams or more of a

 mixture and substance containing a detectable amount of methamphetamine, in violation of 21

 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B); (b) the Court adjudicate Defendant guilty of the charges set

 forth in Count One of the Indictment, the lesser included offense of conspiracy to manufacture,

 distribute, and possess with the intent to distribute fifty (50) grams or more of a mixture and

 substance containing a detectable amount of methamphetamine, in violation of 21 U.S.C. §§ 846,

 841(a)(1) and (b)(1)(B); and (c) Defendant shall remain in custody pending sentencing in this matter

 (Doc. 126). Neither party filed an objection within the given ten days. After reviewing the record,

 the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Doc. 126) pursuant

 to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to Count One of the Indictment, the lesser included offense

 of conspiracy to manufacture, distribute, and possess with the intent to distribute fifty (50) grams

 or more of a mixture and substance containing a detectable amount of methamphetamine, in

 violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B), is ACCEPTED;


Case 1:09-cr-00095-TRM-SKL           Document 134        Filed 09/08/09      Page 1 of 2      PageID
                                           #: 263
        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Indictment, the lesser included offense of conspiracy to manufacture, distribute, and possess with

 the intent to distribute fifty (50) grams or more of a mixture and substance containing a detectable

 amount of methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B); and

        (3) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday,

 December 10, 2009, at 9:00 am.

        SO ORDERED.

        ENTER:

                                               /s/
                                               CURTIS L. COLLIER
                                               CHIEF UNITED STATES DISTRICT JUDGE




                                                  2

Case 1:09-cr-00095-TRM-SKL           Document 134        Filed 09/08/09      Page 2 of 2      PageID
                                           #: 264
